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Inbox 1882 Mitsu 01/11/23 BANK REC 03/22/2023 15:12 - Scanned from 10.13.79.27 Date:03/22/2023 15:12 Pages:14 Resolution:200x200 DP! -

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Inbox 1882 Mitsu 01/10/23 BANK REC 03/22/2023 15:11 - Scanned from 10.13.79.27 Date:03/22/2023 15:11 Pages:13 Resolution:200x200 DPI ----------------------

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Inbox 1882 Mitsu 01/09/23 BANK REC 03/22/2023 15:10 - Scanned from 10.13.79.27 Date:03/22/2023 15:10 Pages:24 Resolution:200x200 DPI

Gy 20C032223-03...

Inbox 1882 MITSU 01/06/23 BANK REC 03/22/2023 15:07 - Scanned from 10.13.79.27 Date:03/22/2023 15:07 Pages:25 Resolution:200x200 DPI ----------------------

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Inbox 1882 MITSU 01/05/23 BANK REC 03/22/2023 15:06 - Scanned from 10.13.79.27 Date:03/22/2023 15:06 Pages:9 Resolution:200x200 DPI -----------------------

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Inbox 1882 MITSU 01/04/23 BANK REC 03/22/2023 15:05 - Scanned from 10.13.79.27 Date:03/22/2023 15:05 Pages:22 Resolution:200x200 D

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Inbox 1882 MITSU 01/02/23 BANK REC 03/22/2023 15:02 - Scanned from 10.13.79.27 Date:03/22/2023 15:02 Pages:20 Resolution:200x200 D

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Inbox 1882 Mitsu 12/30/22 BANK REC 03/22/2023 14:54 - Scanned from 10.13.79.27 Date:03/22/2023 14:54 Pages:8 Resolution:200x200 DP!

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